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UNITED STATES DISTRICT COURT

for the

DISTRICT OF NEW JERSEY

MCO & EA LLC
Plaintiff(s), Civil Action No. 2:20-cv-17100-SRC-CLW
V.
SILVER GLOBE INC. JUDGMENT
Defendant(s).

Plaintiff having filed a Notice of Acceptance of Defendants' Offer of Judgment pursuant to Rule 68 of
the Federal Rules of Civil Procedure, the Offer, Notice and Acceptance and Proof of Service having been

filed herein, the Clerk now enters Judgment in accordance with Rule 68(a), and pursuant to the Offer and

Acceptance.

DATED and ENTERED this 27 day of February 2023

LEZ jp

Signature6PCI OF Clef Deputy Clerk

